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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA


 PRESS ROBINSON, et al.,

                         Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                         Defendant.
                                                   CIVIL ACTION
                                                   NO. 3:22-CV-00211-SDD-SDJ
 consolidated with
                                                   consolidated with
                                                   NO. 3:22-CV-00214-SDD-SDJ
 EDWARD GALMON, SR., et al.,

 Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                         Defendant.



                    NOTICE OF DEFENDANTS’ PROPOSED SCHEDULE

         NOW INTO COURT, through the undersigned counsel, comes Defendant R. Kyle Ardoin,

in his official capacity as Secretary of State for the State of Louisiana, the State of Louisiana, and

Legislative Intervenors Clay Schexnayder and Patrick Page Cortez (collectively “Defendants”)

pursuant to Fed. R. Civ. P. 16(b) and this Court’s September 1, 2023, order [D.E. 272] and notify

the Court as follows:

      1. Following the Status Conference on September 1, 2023, and the entry of D.E. 272, counsel

for Defendants emailed counsel for Plaintiffs on Friday September 1, 2023, seeking their position

on whether Plaintiffs wanted a new map and a new hearing date. Counsel for Plaintiffs indicated
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that a response was forthcoming on Monday. Hearing nothing, Counsel for Defendants’ followed

up again on Tuesday, September 5, 2023. Finally, at 11:31 PM counsel for Plaintiffs notified the

counsel for Defendants’ that the plaintiffs would stick to the October 3-5 hearing date and schedule

discussed on Friday’s call. This was confirmed again on the morning of September 6, 2023. A true

and accurate copy of this email correspondence is attached as Exhibit 1.

      2. Throughout the day on September 6, 2023, counsel for Defendants drafted a consent

motion with the scheduling order they believed was agreed to via email. Unfortunately, no

agreement on that motion could be reached.

      3. As such, Defendants’ hereby provide notice to the Court pursuant to D.E. 272 of their

proposed schedule. This schedule listed below contemplates the October 3-5, 2023 hearing date

elected by Plaintiffs and Defendants’ understanding that Plaintiffs will not submit a new map.



 1.      All Parties Serve Fact Witness Disclosures                        September 14, 2023

 2.      Defendants Serve Expert Reports (Supplemental and New)            September 15, 2023

 3.      Plaintiffs Disclose Rebuttal Expert Witnesses                     September 18, 2023

 4.      Plaintiffs Serve Rebuttal Expert Reports                          September 28, 2023

 5.      All Parties File Witness and Exhibit Lists                        September 29, 2023

 6.      All Parties File Pre-Hearing Briefs (limit 30 pages per side)     September 29, 2023



Respectfully submitted, this the 6th day of September, 2023.



 /s/ Patrick T. Lewis                                 /s/ Phillip J. Strach
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